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                                     UNITED STATES DISTRICT COURT

                                    NORTHERN DISTRICT OF CALIFORNIA




TRUSTLABS, INC, a Delaware Corporation,         Case No. 3:21-cv-02606-CRB
                       Plaintiff,               DEFENDANT’S STATEMENT ON DISCOVERY DISPUTE

                       v.                       Complaint Filed:   April 9, 2021
                                                Judge:             Hon. Charles R. Breyer
DANIEL JAIYONG AN, an individual                                   Hon. Thomas S. Hixson
                       Defendant.




JOINT STATEMENT ON DISCOVERY DISPUTE                                     CASE NO. 3:21-cv-02606-CRB
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       Mr. An hereby submits this statement pursuant to this Court’s March 1, 2022 order.

       I.       DEFENDANT’S POSITION

       Mr. An respectfully requests a period of approximately four (4) weeks, or until April 9, 2022, to

submit a motion for summary judgment and substitute counsel to discuss next steps with respect to

Plaintiff’s discovery.



      Respectfully Submitted,




                                                 By: /s/
                                                                    Daniel Jaiyong An




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JOINT STATEMENT ON DISCOVERY DISPUTE                                        CASE NO. 3:21-cv-02606-CRB
